Case 6:22-cv-00372-JDK Document 41-4 Filed 10/12/22 Page 1 of 5 PageID #: 191




       EXHIBIT D
DocuSign Envelope ID: 0F2C9115-43A0-421D-99DC-2B0DBDE99291
            Case 6:22-cv-00372-JDK Document 41-4 Filed 10/12/22 Page 2 of 5 PageID #: 192




                                     IN THE UNITED STATES DISTRICT COURT
                                      FOR THE EASTERN DISTRICT OF TEXAS
                                                  TYLER DIVISION
                                     __________________________________________

              TEXAS MEDICAL ASSOCIATION, et al.,                 )
                                                                 )
                                  Plaintiffs,                    )
                                                                 )
              v.                                                 )
                                                                 )
              UNITED STATES DEPARTMENT OF                        )
              HEALTH AND HUMAN SERVICES, et al.,                 )
                                                                 ) Case No.: 6:22-cv-00372-JDK
                                 Defendants.                     )
                                                                 ) Lead Consolidated Case
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                                                                 )


                              DECLARATION OF TYLER REGIONAL HOSPITAL, LLC

                     I, Glen Christensen, solemnly declare under penalty of perjury and to the best of my

            knowledge, information, and belief as follows:

                     1.      I am the Chief Financial Officer for Tyler Regional Hospital, LLC (the

            “Hospital”). My responsibilities include negotiating with insurers to enter into network

            agreements and negotiating reimbursement for medical services furnished to out-of-network

            patients.

                     2.      This declaration is based on my personal knowledge and is made with the

            authority of the Hospital.

                     3.      The Hospital provides medical care to thousands of patients each year, with the

            mission of ensuring that East Texas residents receive world-class medical care. In addition to

            offering comprehensive, innovative, cutting-age care for all patients, the Hospital provides a

                                                             1
DocuSign Envelope ID: 0F2C9115-43A0-421D-99DC-2B0DBDE99291
            Case 6:22-cv-00372-JDK Document 41-4 Filed 10/12/22 Page 3 of 5 PageID #: 193




            variety of services focused exclusively on the least fortunate in the Tyler community. These

            services include: (1) a primary healthcare program providing free primary care visits, diabetes

            visits, mammograms, and blood pressure visits; (2) the Healthy Texas Women program, which

            offers free reproductive health services like HIV screening, screening and treatment for

            postpartum depression, breast and cervical cancer screenings, and pelvic exams; and (3) the

            Family Planning Program, which offers free pregnancy testing, cholesterol, diabetes, and high

            blood pressure screening, and prenatal benefits.

                     4.      The Hospital also provides out-of-network services, including emergency

            services, that are covered by the No Surprises Act’s (“NSA”) balance billing prohibition and the

            independent dispute resolution (“IDR”) process for determining reimbursement rates for certain

            out-of-network services.

                     5.      The Hospital furnishes emergency services through its emergency department.

            When the Hospital furnishes emergency services to a patient with insurance that covers

            emergency services, the Hospital submits a claim on a UB-04 form through a third-party billing

            service to the patient’s insurance company. The claim for services (known as a facility fee) is

            submitted in the Hospital’s name, and the Hospital receives payment from the insurance

            company. This same process applies regardless of whether the Hospital is in-network or out-of-

            network.

                     6.      The Hospital has furnished emergency services covered by the NSA’s IDR

            process to patients since the NSA went into effect. However, the Hospital has not yet submitted

            claims for services covered by the NSA into the NSA’s Open Negotiation process. The Hospital

            has not consistently been able to identify, within the period to initiate Open Negotiation, when

            claims are covered by the NSA’s IDR process, as a result of a failure by insurers to clearly

                                                               2
DocuSign Envelope ID: 0F2C9115-43A0-421D-99DC-2B0DBDE99291
            Case 6:22-cv-00372-JDK Document 41-4 Filed 10/12/22 Page 4 of 5 PageID #: 194




            convey this information when making an initial payment. Nonetheless, the Hospital will almost

            certainly submit a claim through Open Negotiation later this year, and for at least some of those

            claims, the Hospital will almost certainly choose to enter into the NSA’s IDR process.

                     7.      I expect that the bids submitted by insurers as part of the NSA’s IDR process will

            almost always be lower and closer to the relevant QPA than the Hospital’s bids. As such, the

            Hospital will feel pressure to lower its bids towards the QPA. Driving out-of-network

            reimbursement rates to the QPA will result in the systematic reduction of out-of-network

            reimbursement for the Hospital, compared to an IDR process that does not privilege the QPA.

                     8.      Based on industry knowledge, I also expect that the QPAs associated with the

            Hospital’s services will be below a reasonable reimbursement rate. QPAs often do not

            accurately reflect the costs the Hospital incurs in providing emergency medical services,

            including because of geographic disparities, differences in provider training, and differences in

            patient and case complexity. The Departments also recently acknowledged1 that QPAs can

            materially differ from relevant median market rates, as a result of insurers inappropriately

            including rates from physicians in different specialties, or even $0 rates listed in fee schedules.

                     9.      Because the Final Rule privileges the QPA during the IDR process, the Hospital’s

            reimbursement for services covered by the NSA’s IDR process will decline.

                     10.     Privileging the QPA will make it more difficult for the Hospital’s bid to be chosen

            in the IDR process, in comparison with a process in which the IDR entities can freely consider

            all statutory factors without favoring any particular factor.



            1
             DEP’TS, FAQs about Affordable Care Act and Consolidated Appropriations Act, 2021
            Implementation Part 55 at FAQ 14 (Aug. 19, 2022), available at
            https://www.dol.gov/sites/dolgov/files/EBSA/about-ebsa/our-activities/resource-center/faqs/aca-
            part-55.pdf.
                                                          3
DocuSign Envelope ID: 0F2C9115-43A0-421D-99DC-2B0DBDE99291
            Case 6:22-cv-00372-JDK Document 41-4 Filed 10/12/22 Page 5 of 5 PageID #: 195




                     11.     Requiring IDR entities to privilege the QPA will lower reimbursement rates for

            the Hospital’s care, such that the Hospital’s revenues will decrease.

                     12.     In this way, privileging the QPA directly harms the Hospital’s financial interests.



            Pursuant to the requirements of 28 U.S.C. section 1746, I declare under penalty of perjury that
            the foregoing is true and correct to the best of my knowledge and belief.

            Executed on:
                                                                                        10/11/2022
            __________                                                     __________
                                                                           Glen Christensen




                                                              4
